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  1
      Michael J. Bowe                             David M. Stein (#198256)
  2   (admitted pro hac vice)                     dstein@brownrudnick.com
      mbowe@brownrudnick.com                      BROWN RUDNICK LLP
  3   Lauren Tabaksblat                           2211 Michelson Drive, 7th Floor
      (admitted pro hac vice)                     Irvine, California 92612
  4   ltabaksblat@brownrudnick.com                Phone:       949.752.7100
      BROWN RUDNICK LLP                           Fax: 949.252.1514
  5   7 Times Square
      New York, NY 10036
  6   Telephone: (212) 209-4800
      Facsimile: (212) 209-4801
  7
      Attorneys for Plaintiff
  8
                            UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                              SOUTHERN DIVISION
 11 SERENA FLEITES,                               CASE NO. 2:21-CV-04920-CJC-ADS

 12          Plaintiff,

 13         v.

 14 MINDGEEK S.A.R.L.; MG                         [PROPOSED] ORDER GRANTING
    FREESITES, LTD; MINDGEEK USA                  PLAINTIFF’S APPLICATION TO
 15 INCORPORATED; MG PREMIUM                      FILE UNDER SEAL EXHIBITS TO
 16 LTD.; MG GLOBAL                               PLAINTIFF’S MOTION TO
                                                  COMPEL DEFENDANT COREY
    ENTERTAINMENT INC.; 9219-1568                 URMAN’S RESPONSES TO
 17 QUEBEC, INC.; BERND BERGMAIR;                 PLAINTIFF’S FIRST REQUEST
 18 FERAS ANTOON; DAVID                           FOR PRODUCTION OF
                                                  DOCUMENTS AND
    TASSILLO; COREY URMAN; VISA                   INTERROGATORIES
 19 INC.; COLBECK CAPITAL DOES 1-
 20 5; BERGMAIR DOES 1-5
 21                Defendants.
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                                                              CASE NO. 21-CV-04920-CJC-ADS
      [PROPOSED] ORDER GRANTING PLAINTIFF’S APPLICATION TO FILE UNDER SEAL EXHIBITS TO
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
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                                    ID #:5910


  1         Good cause appearing therefore, the court hereby GRANTS Plaintiff’s
  2 request to temporarily file under seal Exhibits 4, 7, 8 and P submitted as
  3 attachments to Plaintiff’s Motion to Compel Defendant Corey Urman’s Responses
  4 to Plaintiff’s First Request for Production of Documents and Interrogatories. The
  5 clerk will file under seal these documents.
  6
  7 IT IS SO ORDERED.
  8 Dated: _____________________
  9
                                             HONORABLE AUTUMN D. SPAETH
 10                                          United States Magistrate Judge
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                                             1                CASE NO. 21-CV-04920-CJC-ADS
      [PROPOSED] ORDER GRANTING PLAINTIFF’S APPLICATION TO FILE UNDER SEAL EXHIBITS TO
      PLAINTIFF’S MOTION TO COMPEL DEFENDANT COREY URMAN’S RESPONSES TO PLAINTIFF’S
      FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND INTERROGATORIES
